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            16                                IN THE UNITED STATES DISTRICT COURT
                                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
            17                                          SAN JOSE DIVISION

            18       MATT JONES, BRYSON DECHAMBEAU, and            CASE NO. 5:22-cv-04486-BLF-SVK
                     LIV GOLF INC.,
            19                                                     STIPULATION AND [PROPOSED]
                                        Plaintiffs,                ORDER REGARDING VOLUNTARY
            20                                                     DISMISSAL
                            v.
            21
                     PGA TOUR, INC.,
            22
                                        Defendant and Counter-
            23                          Plaintiff,

            24              v.

            25       LIV GOLF INC., et al.,

            26                          Counter-Defendant.

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 Crutcher LLP


                        STIPULATION REGARDING VOLUNTARY DISMISSAL OF LIV GOLF, INC. AND PGA TOUR, INC.
                                               CASE NO. 5:22-CV-04486-BLF-SVK
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                 1          Plaintiff and Counter-Defendant LIV Golf Inc. (“LIV”), Defendant and Counter-Plaintiff

                 2   PGA Tour, Inc. (the “TOUR”), and Counter-Defendants The Public Investment Fund of the Kingdom

                 3   of Saudi Arabia (“PIF”) and Yasir Al-Rumayyan (collectively “the Parties”), by and through their

                 4   respective counsel of record, hereby stipulate and agree as follows:

                 5          WHEREAS, on August 26, 2022, LIV and other plaintiffs who have since dismissed their

                 6   claims filed an amended complaint and demand for jury trial against the TOUR;

                 7          WHEREAS, on February 23, 2022, the TOUR filed an amended counterclaim and demand for

                 8   jury trial against LIV, PIF, and Mr. Al-Rumayyan;

                 9          WHEREAS, the TOUR sought third-party discovery of the PIF and Mr. Al-Rumayyan, which

            10       was the subject of the orders entered at Docket Nos. 265 and 382 and which are currently under

            11       appeal in the U.S. Court of Appeals for the Ninth Circuit (No. 23-15530);

            12              WHEREAS, LIV and the TOUR wish to voluntarily dismiss with prejudice all of their claims

            13       against each other and the TOUR’s claims against PIF and Mr. Al-Rumayyan pursuant to Federal

            14       Rule of Civil Procedure 41(a)(1)(A)(ii), and PIF and Mr. Al-Rumayyan wish to voluntarily dismiss

            15       their appeal with prejudice, and all Parties consent;

            16              NOW, THEREFORE, the Parties stipulate and agree as follows:

            17              1.      LIV voluntarily dismisses with prejudice its claims against the TOUR pursuant to

            18       Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

            19              2.      The TOUR voluntarily dismisses with prejudice its claims against LIV, PIF, and Mr.

            20       Al-Rumayyan pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

            21              3.      The discovery orders issued at Docket Nos. 265 and 382 are moot.

            22              4.      All Parties bear their own fees and costs.

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            24       IT IS SO STIPULATED.

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                        STIPULATION REGARDING VOLUNTARY DISMISSAL OF LIV GOLF, INC. AND PGA TOUR, INC.
                                               CASE NO. 5:22-CV-04486-BLF-SVK
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                        STIPULATION REGARDING VOLUNTARY DISMISSAL OF LIV GOLF, INC. AND PGA TOUR, INC.
                                               CASE NO. 5:22-CV-04486-BLF-SVK
                          Case 5:22-cv-04486-BLF Document 462 Filed 06/16/23 Page 5 of 6



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                                                           His Excellency Yasir O. Al-Rumayyan
            21

            22

            23       APPROVED AND SO ORDERED:
            24

            25       Dated: ___________________                          ______________________________
            26                                                           HON. BETH LABSON FREEMAN
                                                                         UNITED STATES DISTRICT JUDGE
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                        STIPULATION REGARDING VOLUNTARY DISMISSAL OF LIV GOLF, INC. AND PGA TOUR, INC.
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                 1                     ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1
                 2          Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that

                 3   concurrence in the filing of the document has been obtained from each of the other signatories to this

                 4   document.

                 5
                     DATED: June 16, 2023                        KEKER, VAN NEST & PETERS LLP
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                 7
                                                                 By:          /s/ Elliot R. Peters
                 8                                                              Elliot R. Peters
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                                               CASE NO. 5:22-CV-04486-BLF-SVK
